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 6
      Attorney for the Federal Defendants
 7
 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10    ELIZABETH JIMINEZ, individually,                      Consolidated Case Nos.:
                                                              17cv1205-BTM-AGS
11    and as successor in interest of                         18cv1269-BTM-AGS
      FERNANDO GEOVANNI LLANEZ,
12                                                          CERTIFICATE OF SERVICE
      deceased; FERNANDO LLANEZ,
13    individually, and as successor in interest
      of FERNANDO GEOVANNI LLANEZ,
14
      deceased
15                             Plaintiffs,
16
                    vs.
17
18    THE UNITED STATES OF AMERICA;
      RONALDO RICARDO GONZALEZ, an
19    individual; MARCUS OSORIO, an
20    individual; CHRIS BARONI, an
      individual; ANGELA SANCHEZ, an
21    individual; MICHAEL BURBANK, an
22    individual; JEREMY DORN, an
      individual; ANTHONY
23
      CASTELLANOS, an individual; MARK
24    MEREDITH, an individual; and DOES
      1-100, inclusive,
25
                               Defendants.
26
27
28
                                                     1
                             Certificate of Service re: Motion for Summary Judgment – 17cv1205-BTM-AGS, 18cv1269-BTM-AGS
     Case 3:18-cv-01269-BTM-AGS Document 25-3 Filed 09/29/20 PageID.546 Page 2 of 2




 1          IT IS HEREBY CERTIFIED that:
 2          I, SIEGMUND F. FUCHS, am a citizen of the United States and am at least eighteen
 3    years of age. My business address is U.S. Department of Justice, Torts Branch, Benjamin
 4    Franklin Station, Washington, D.C., 20044-7146.
 5          I am not a party to the above-captioned case. I have caused service of the following
 6    documents:
 7            NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
 8        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
 9                            NOTICE OF LODGMENT OF EXHIBITS
10
      on the parties listed below by electronically filing the foregoing with the Clerk of the
11
      District Court using its ECF System, which electronically notifies the following parties
12
      and/or their counsel in this case:
13
14                                           Jorge I. Hernandez
                                            823 Anchorage Place
15                                         Chula Vista, CA 91914
16
                                            Daniel Martin Smith
17                                           585 Third Avenue
18                                         Chula Vista, CA 91914
19                                           Karen Lynn Rogan
20                                           276 Fourth Avenue
                                           Chula Vista, CA 91910
21
22          By way of Federal Express, I have caused service of Exhibit Four to the Notice of
23    Lodgment, a copy of the compact disc, to the above-referenced parties and/or their counsel
24    (Mr. Hernandez and Ms. Rogan) at the above-referenced mailing addresses.
25          I declare under penalty of perjury that the foregoing is true and correct.
26    Executed on September 29, 2020.                               s/ Siegmund F. Fuchs
27                                                                  SIEGMUND F. FUCHS
28
                                                      2
                              Certificate of Service re: Motion for Summary Judgment – 17cv1205-BTM-AGS, 18cv1269-BTM-AGS
